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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

BRYCE CARRASCO,                               *

       Plaintiff,                             *

v.                                            *      Case No.: 1:21-CV-00532-SAG

M&T BANK,                                     *

       Defendant.                             *

*      *       *       *      *       *       *      *       *       *      *       *       *

     DEFENDANT M&T BANK’S CROSS MOTION FOR SUMMARY JUDGMENT
     AND OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT

       Defendant M&T Bank (“M&T”), through its undersigned counsel, moves pursuant to Rule

56 of the Federal Rules of Civil Procedure for summary judgment in its favor because there is no

genuine dispute as to any material fact regarding Plaintiff’s claims under the Fair Credit Reporting

Act and the Truth in Lending Act, and M&T is entitled to judgment as a matter of law. Through

this Cross Motion, M&T also opposes Plaintiff’s Motion for Summary Judgment (ECF No. 85).

The grounds for this Cross Motion and Opposition are more particularly set forth in the

accompanying Memorandum of Law, which is incorporated herein by reference. In support of this

Cross Motion, M&T attaches the Affidavit of Kathleen Evans as Exhibit A.

       WHEREFORE, Defendant M&T Bank respectfully requests entry of judgment in its favor

on all claims asserted in Plaintiff’s First Amended Complaint and that Plaintiff’s Motion for

Summary Judgment be denied.

                                                  Respectfully submitted,


                                                  /s/ Brian L. Moffet
                                                  Brian L. Moffet (Fed. Bar No. 13821)
                                                  MILES & STOCKBRIDGE P.C.
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                                                Attorneys for Defendant M&T Bank



                               CERTIFICATE OF SERVICE

       I hereby certify that on August 9, 2021, a copy of the foregoing was served on the

following via ECF and via first class mail, postage prepaid:

                                            Bryce Carrasco
                                            334 Ternwing Drive
                                            Arnold, MD 21012


                                            /s/ Brian L. Moffet
                                            Brian L. Moffet (Fed Bar No. 13821)




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